         Case 5:16-cv-02587-MWF-SP Document 1 Filed 12/19/16 Page 1 of 17 Page ID #:1

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           Ronald J. Gengler, Plaintiff in Propria Persona                   ~    t1   ~. ,
           PO BOX 426
           Thousand Palms, California 92276                                C'~ f- `-';
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                              IN THE UNITED STATES DISTRICT~COURT                               .. _.
                                  FOR THE DISTRICT OF CALIFORNIA
           RONALD J. GENGLER
                  PLAINTIFF
           v.                                                       ~ASE~N ~."                O~~U ~          ~`~~~i~
           HUNT & HENRIQUES AND MICHAEL S. HUNT
                  DEFENDANTS                                                                                       SPX
                 COUNT i —COMPLAINT FOR VIOLATIONS OF FAIR DEBT COLLECTION
                           PRACTICES ACT (FDCPA); 15 U.S.C.§ 1692 ET SEQ.

                  Comes now the plaintiff RONALD J. GENGLER and sues the defendant HUNT &
           HENRIQUES for penalties and actual damages for unfair and deceptive collection
           practices in violation of the Fair Debt Collection Practices Act, and for other relief as set
           forth herein.

                                                 JURISDICTION

                  This is an action at law and this court has original jurisdiction pursuant to Article
           III, Section 2 of the United States Constitution and Title 28 U.S.C. §1331.

M~`"`~            This is a complaint for damages that exceeds $75,000. There is a diversity of
           citizenship between the plaintiff and defendant.

                                                     VENUE

  -~             The plaintiff has resided in Riverside County, using the postal address known as
 ~~
          Post Office Box 426, Thousand Palms, California, for all times material to this
          complaint.

                 The defendant is a corporation doing business in the State of California with its
          principle place of business at the address of 151 Bernal Road, Suite 8; San Jose, CA
          95119-1306, for all times material to this complaint.

                 Defendant is a debt collector as defined under Title 15 U.S.C. §1692(a).
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  Defendant has undertaken actions that involve the collection of a consumer debt
  against the plaintiff. The debt collection involves a purported debt for personal, family
  or household purposes.

         Defendant is a debt collector as defined under Title 15 U.S.C. §1692(a)(6) and is
  not excluded by any provision of what defines a "debt collector" under this statute.

                                     PLAIN STATEMENT

        This is a complaint for unfair and deceptive collection practices involving
  collateral against which the defendants have falsely asserted various rights or claims.

        The defendant is suing the plaintiff for a purported credit card debt, in which the
  lawsuit names a creditor as if the creditor is being represented by the defendant
  however, the creditor named in the complaint has no interest in the proceeding but the
  defendant has all of the interest and is only using the creditor's name to mislead the
  court, create false records and misrepresent that the defendant has all of the interest
  and not what appears to be his purported client.
        The defendant has somehow acquired the personal and banking information of
  each of the plaintiff and has used that information for his own personal gain and benefit
  without any permissible purpose.

        The plaintiff sent the defendant a notice of dispute and request for validation on
  several dates over the previous twelve months, true and correct copies of which are
  attached as part of Exhibit A. The defendant did not respond as required by law.

                                       ALLEGATIONS
        Each and everyone of the foregoing statements, together with the exhibits, are
  re-alleged herein and included with the following additional allegations.
        Within the previous twelve months, the defendant began sending written
  communication to the plaintiff stating that it was representing a creditor to whom the
  plaintiff owed money and that the defendant was representing the creditor.
         Plaintiff disputed these claims and asked the defendant to provide verification
  that these parties it was supposed to have been representing, whose names it was
  using, or who were aware of its actions. No response was given.
        The defendant sent written •communication to the plaintiff stating that it was
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  representing various parties, namely a creditor of the plaintiff's.
         Plaintiff asked the defendant to provide verification that this party, the purported
  creditor, who the defendant claimed to have been representing, was aware of her
  actions.
         Plaintiff also asked the defendant to explain how it obtained the personal and
  private banking, financial and identifying information of the plaintiff. The defendant failed
  or refused to answer these questions, in spite of being advised that she was in violation
  of the Fair Debt Collection Practices Act and may be subject to penalties and actual
  damages for continuing to undertake these actions.

         The purported debt is not a debt held or collected under the name of the
  defendant's client, the purported creditor.
         The defendant made false representations that its client's interests were being
  represented in its debt collection actions.
         The defendant did not have the typical credit information of the plaintiff, such as a
  social security number, or date of birth or other banking information that a creditor would
  normally be expected to have already obtained before a debt obligation was
  established.
         The defendant has used a false or fictitious name in the undertaking of its
  collection actions.
         The defendant has used a name other than the true name of its business,
  company or organization.
         After several written requests, the defendant has refused to identify its owners,
  principals or interests it claims to have in the plaintiff's property. Instead of making
  these disclosures, defendant has falsely represented that it has certain legal rights
  under a credit agreement to collect money thereunder.
         The defendant has falsely represented the name of the creditor to whom it
  alleges the debt is owed.
         The Defendant failed to provide the Plaintiff with validation of debt within five
  business days of contacting him.
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         Based on these allegations, the consumer alleged violations of §§ 1692e(4) and
  (5), and 1692g(a) and (b) of the FDCPA.
         The foregoing acts and omissions constitute numerous and multiple violations of
  the FDCPA, including but not limited to each and every one of the above-cited
  provisions of the FDCPA, 15 U.S.C. § 1692 et seq.

         This is an action for damages exceeding $75,000.

         Plaintiff demand a jury trial.

         As a result of each and every violation of the FDCPA, Plaintiff is entitled to any
  actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an amount
  up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney's
  fees and costs, if any, pursuant to 15 U.S.C. § 1692k(a)(3) from each and every
  defendant, jointly and severally.

                                      REQUEST FOR RELIEF
         WHEREFORE, Plaintiff demands that judgment be entered against each
  Defendant, jointly and severally, and Plaintiff be awarded damages from each
  Defendant, as follows:
         A.   An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
  1692k(a)(2)(A);
         B. An award of costs of litigation and reasonable attorney's fees, if any, pursuant
         to 15 U.S.C. § 1692k(a)(3);
         C. An award of actual damages;

         D. Pursuant to the seventh amendment to the Constitution of the United States

  of America, Plaintiff is entitled to, and demands, a trial by jury on all issues so triable as
  a matter of law.

       COUNT II —COMPLAINT FOR VIOLATIONS OF FAIR DEBT COLLECTION
                     PRACTICES ACT (FDCPA); 15 U.S.C.§ 1692 ET SEQ.

       Comes now the plaintiff RONALD J. GENGLER and sues the defendant
  MICHAEL S. HUNT for penalties and actual damages for unfair and deceptive collection
  practices in violation of the Fair Debt Collection Practices Act, and for other relief as set
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  forth herein.

                                       JURISDICTION

         This is an action at law and this court has original jurisdiction pursuant to Article
  III, Section 2 of the United States Constitution and Title 28 U.S.C. §1331.

         This is a complaint for damages that exceeds $75,000. There is a diversity of
  citizenship between the plaintiff and defendant.

                                            VENUE

        The plaintiff has resided in Riverside County, using the postal address known as
  Post Office Box 426, Thousand Palms, California, for all times material to this
  complaint.

         The defendant is an individual doing business in the State of California with his
  principle place of business at the address of 151 Bernal Road, Suite 8; San Jose, CA
  95119-1306, for all times material to this complaint.

         Defendant is a debt collector as defined under Title 15 U.S.C. §1692(a).
  Defendant has undertaken actions that involve the collection of a consumer debt
  against the plaintiff. The debt collection involves a purported debt for personal, family
  or household purposes.

         Defendant is a debt collector as defined under Title 15 U.S.C. §1692(a)(6) and is
  not excluded by any provision of what defines a "debt collector" under this statute.

                                     PLAIN STATEMENT

         This is a complaint for unfair and deceptive collection practices involving
  collateral against which the defendants have falsely asserted various rights or claims.
         The defendant is suing the plaintiff for a purported credit card debt, in which the
  lawsuit names a creditor as if the creditor is being represented by the defendant'
  however, the creditor named in the complaint has no interest in the proceeding but the
  defendant has all of the interest and is only using the creditor's name to mislead the
  court, create false records and misrepresent that the defendant has all of the interest
  and not what appears to be his purported client.
         The defendant has somehow acquired the personal and banking information of
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  each of the plaintiff and has used that information for his own personal gain and benefit
  without any permissible purpose.

        The plaintiff sent the defendant a notice of dispute and request for validation on
  several dates over the previous twelve months, true and correct copies of which are
  attached as part of Exhibit A. The defendant did not respond as required by law.

                                        ALLEGATIONS
         Each and everyone of the foregoing statements, together with the exhibits, are
  re-alleged herein and included with the following additional allegations.
        Within the previous twelve months, the defendant began sending written
  communication to the plaintiff stating that it was representing a creditor to whom the
  plaintiff owed money and that the defendant was representing the creditor.
          Plaintiff disputed these claims and asked the defendant to provide verification
  that these parties it was supposed to have been representing, whose names it was
  using, or who were aware of its actions. No response was given.
         The defendant sent written communication to the plaintiff stating that it was
  representing various parties, namely a creditor of the plaintiff's.
         Plaintiff asked the defendant to provide verification that this party, the purported
  creditor, who the defendant claimed to have been representing, was aware of her
  actions.
         Plaintiff also asked the defendant to explain how it obtained the personal and
  private banking, financial and identifying information of the plaintiff. The defendant failed
  or refused to answer these questions, in spite of being advised that she was in violation
  of the Fair Debt Collection Practices Act and may be subject to penalties and actual
  damages for continuing to undertake these actions.

         The purported debt is not a debt held or collected under the name of the
  defendant's client, the purported creditor.
         The defendant made false representations that its client's interests were being
  represented in its debt collection actions.
         The defendant did not have the typical credit information of the plaintiff, such as a
  social security number, or date of birth or other banking information that a creditor would
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  normally be expected to have already obtained before a debt obligation was
  established.
         The defendant has used a false or fictitious name in the undertaking of its
  collection actions.
         The defendant has used a name other than the true name of its business,
  company or organization.
         After several written requests, the defendant has refused to identify its owners,
  principals or interests it claims to have against plaintiff.   Instead of making these

  disclosures, defendant has falsely represented that it has certain legal rights under a
  credit agreement that has never been disclosed.
         The defendant has falsely represented the name of the creditor to whom it
  alleges the debt is owed.
         The Defendant failed to provide the Plaintiff with validation of debt within five
  business days of contacting him.

         Based on these allegations, the consumer alleged violations of §§ 1692e(4) and
  (5), and 1692g(a) and (b) of the FDCPA.
         The foregoing acts and omissions constitute numerous and multiple violations of
  the FDCPA, including but not limited to each and every one of the above-cited
  provisions of the FDCPA, 15 U.S.C. § 1692 et seq.

         This is an action for damages exceeding $75,000.

         Plaintiff demand a jury trial.

         As a result of each and every violation of the FDCPA, Plaintiff is entitled to any
  actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an amount
  up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney's
  fees and costs, if any, pursuant to 15 U.S.C. § 1692k(a)(3) from each and every
  defendant, jointly end severally.

                                      REQUEST FOR RELIEF
         WHEREFORE, Plaintiff demands that judgment be entered against each
  Defendant, jointly and severally, and Plaintiff be awarded damages from each
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   Defendant, as follows:
          A.   An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
   1692k(a)(2)(A);
          B. An award of costs of litigation and reasonable attorney's fees, if any, pursuant
         to 15 U.S.C. § 1692k(a)(3);
         C. An award of actual damages;

         D. Pursuant to the seventh amendment to the Constitution of the United States

  of America, Plaintiff is entitled to, and demands, a trial by jury on all issues so triable as
   a matter of law.

   DATED this r~~ day of December, 2016.                                  ,,;l

                                                                   Ronald J. Ge gler, Plaintiff
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                                                  EXHIBIT A
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                                 PD BOX 426, THOUSAND PALMS, CA 92276



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Case 5:16-cv-02587-MWF-SP Document 1 Filed 12/19/16 Page 12 of 17 Page ID #:12




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                                                                     OF CLAIM
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     14. Veri#'y you flaw and understa~ld that credit card contracts ~t►~e
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     15. Provide verification Cram the stated c1•~:ditor that you are: atctl~orizeci to act fQr them.

     16. uerify that you know a3~d «~de~~starld that contacting m~ again after receipt cif this notice
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